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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

    RODNEY LAIL, et al.,                                 )
                                                         )
                   Plaintiffs,                           )
                                                         )
    v.                                                   )           CASE NO. 1:10-CV-00210
                                                         )
    UNITED STATES, et al.,                               )
                                                         )
                   Defendants.                           )
                                                         )

                          THE UNIHEALTH DEFENDANTS’ SUPPLEMENTAL
                         BRIEF IN SUPPORT OF THEIR MOTION TO DISMISS

         Defendant Unihealth Post-Acute Care- Columbia, LLC (“Unihealth Columbia”), along

with its administrator, Brenda Hughes (Unihealth and Ms. Hughes together, the “Unihealth

Defendants”) previously moved the Court to dismiss all claims against them set forth in the

Amended Complaint. [Mot. Dismiss, Docket No. 24.] After the Unihealth Defendants filed that

motion, Plaintiffs attempted to serve another summons and complaint on Unihealth Columbia.1

[See Return of Service, Docket No. 27, p. 19 ¶ 4.] At the time, Plaintiffs had filed a Second

Amended Complaint [Docket No. 12].

         The Second Amended Complaint was filed without prior leave of Court. See Fed. R. Civ.

P. 15(a)(1). Because it does not differ in its allegations concerning the Unihealth Defendants, to

the extent the Court considers the Second Amended Complaint, the Unihealth Defendants would

move the Court to dismiss the Second Amended Complaint as well, relying upon and

incorporating the points and authorities set forth in their earlier Motion to Dismiss. Further,

given the breadth of the pleading and the multiple returns of service filed with the Court, this

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         The Affidavit of Plaintiff Lail refers to service by Federal Express upon “Unihealth Corporate,” which
appears to refer to Unihealth Columbia.

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motion is also brought on behalf of any affiliates, officers, or employees of the Unihealth

Defendants, but only to the extent that the Second Amended Complaint is construed to include

any of them and only to the extent that service was properly effectuated.

       This 9th day of August, 2010.

                                             Respectfully submitted,

                                             AEGIS LAW GROUP LLP

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                                             Attorneys for Defendants Unihealth Post-Acute Care-
                                             Columbia, LLC and Brenda Hughes




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                                 CERTIFICATE OF SERVICE

                I hereby certify that on the 9th day of August, 2010, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to the following:

 James B. Spencer                                William C. McDow,Esq.
 Suite 183                                       RICHARDSON PLOWDEN &
 7001 St. Andrews Road                           ROBINSON, P.A.
 Columbia, SC 29212                              1900 Barnwell Street (29201)
 Email: jamesbspencer@ss.rr.com                  P.O. Drawer 7788
                                                 Columbia, SC 29202
                                                 Email: bmcdow@richardsonplowden.com
 Monte Fried, Esq.
 WRIGHT, CONSTABLE & SKEEN,
 L.L.P.
 100 North Charles Street
 Suite 1600
 Baltimore, MD 21202-3805
 Email: mfried@wcslaw.com

and that I have caused a copy to be deposited in the United States Mail, first-class postage
prepaid, addressed to:

 Bruce Benson                                    Dan Green
 6170 West Lake Mead Blvd., Suite 311            848 North Rainbow Blvd., Suite 170
 Las Vegas, NV 89108                             Las Vegas, NV 89107

 Doris E. Holt                                   Rodney Lail
 Suite 183                                       608 18th Ave. North
 7001 St. Andrews Road                           Myrtle Beach, SC 29577
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 Irene Santacroce                                James B. Spencer
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 Ricky Stephens                                  Marguerite Stephens
 207 Deer Trace Circle                           207 Deer Trace Circle
 Myrtle Beach, SC 29588                          Myrtle Beach, SC 29588




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                                                 /s/ Oliver Garcia




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